Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.957 Filed 12/18/24 Page 1 of 18 Ig
MIED (Rev. 04/09/06) Notice of Appeat

FILED
UNITED STATES DISTRICT COURT CLERK’S OFFICE
EASTERN DISTRICT OF MICHIGAN DEC 18 2024

Elizabeth Nelson U.S DISTRICT COURT
Albert Thrower EASTERN MICHIGA

Plaintiff(s), Case No. 23-cv-11597
v. Brandy R. McMillion

Robert Scott, Service Towing Inc, Able Towing Curtis Ivy, Jr.
LLC, Bruce Hertz, Sandra Hertz, Krn1Z, Sclvar, AA. Aa
Drevwts Me kke, 7 Dé bxnandr Fliemer, ODE Per Ol

Cuz, o & Defendant(s). otter A Mygpen!

pene, Fe. be pa, flrmvette"Koss,

tap .
Fane Lik le 5 Berw,.

: we iy © WSR 4
the bs Ga COnmex Coram ing
appeals to

the United States Court of Appeals for the Sixth Circuit from the: [Arsudgment A order
Other: ECF 78, ECF 80, ECF 87, ECF 86 Judgment & Order(s) ECF's 50, 46, 29

entered in this action on November 20, 2024

Date: December 14, 2024 Albert Thrower Z
Counsel is: PRO SE Elizabeth Nelson ‘ CONN
PO 6702 Cleveland OH 44101
PO 1422 Warren MI 48090

Appellant: Please file this form with the District Court Clerk's Office. If you are paying the filing fee, please make your
$605.00 check payable to: Clerk, U.S. District Court.
Yi1

Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.958 Filed 12/18/24 Page 2 of 18

fubmit Ca

Mee Cr;

A:

CERTIFICATE OF SERVICE Y 4p aol

A copy of this <sen has boon served on below (Ds'JG12A, }
Straetmans/ Rachel Selina 255 E Brown St #320 Birmingham, MI 48009
Tel 2486459680

Jenifer Mead PO Box 806042 St Clair Shores, MI 48080 Tel
3134851250 meadjenn@hotmail.com

Case 2:23-cv-11597-BRM-Ci ECF No. 80, Page!lD.874 Filed 09/06/24 Page 3 of 7
Case 2:23-cv-11597-BRM-Cl ECF No. 78, PagelD.865 Filed 08/22/24 Page 1of5

UNITED STATES DISTRICT COURT :
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
ELIZABETH NELSON, and
ALBERT THROWER
Case No. 2:23-cv-11597
Plaintiffs, .
Brandy R. McMillion
V. United States District Judge
ROBERT SCOTT, ez. al., Mag. Judge Curtis Ivy, Jr.
Defendants.

|

|

: |

|
|

ORDER ADOPTING THE RECOMMENDED DISPOSITION OF THE .
MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION (ECF !
NO. 46), OVERRULLING PLAINTIFFS’ OBJECTIONS (ECF NO. 5@),

AND DISMISSING THE SECOND AMENDED COMPLAINT (ECF !
NO. 29) AS TO THE CITY OF WARREN DEFE Ss

Plaintiffs Elizabeth Nelson and Albert Thrower (together, “Plaintiffs”) filed

this pro se civil rights action against Defendants City of Warren, James Fouts, Robert —_;
Scott, James Cummins, Curtis Gauss, Frank Badalamente, Mary Michaels, Brian |
Kijewski, Marilyn Trembath, Everett Murphy, Pete Warack, Annette Gattari-Ross, |
R. Lipa, William Reichling, and William Dwyer (collectively, the “City of Warren !
Defendants”) and Defendants Service Towing, Inc., Able Towing, LLC, Dennis

Hertz, Bruce Hertz, Sandra Hertz, Edward D. Hertz, and Randy Sullivan
(collectively, the “Service Towing Defendants”). Plaintiffs allege violations of their

constitutional rights and various statutes, under the Fourth, Fifth, and Fourteenth
1

xr Yn

ArOTW cr A OD). AJAQI

Case 2:23-cv-11597-BRM-Ct ECF No- 88; PagelD-960- Filed 12/48/24 Page 4 of 18
Case 2:23-cv-11597-B | ECF No. 80, PagelD.875 Filed 09/06/24 Page 4 of 7
Case 2:23-cv-11597-B | ECF No. 78, PagelD.866 Filed 08/22/24 Page 2 of 5

M-C
M-C
Amendments. See generally ECF No. 29. Plaintiffs’ allegations concern the search
of Plaintiffs’ commercial property located in Warren, Michigan and the towing of
vehicles found on that property. Jd.

This case was originally filed on July 5, 2023, and the Complaint was
amended on August 18, 2023, as a matter of right. See ECF Nos. 1, 25. On August
28, 2023, the Court granted Plaintiffs leave to file a Second Amended Complaint,
which is the operative complaint for purposes of the instant motion. See ECF No.
29. The Service Towing Defendants filed an Answer to the Second Amended
Complaint on September 8, 2023. ECF No. 31. On October 23, 2023, the City of
Warren Defendants moved to dismiss the Second Amended Complaint, or in the
alternative for summary judgment. ECF No. 35. The motion was fully briefed. See
ECF Nos. 40, 43.

On April 2, 2024, this matter was reassigned to the undersigned. On April 4,
2024, the Court referred all pretrial matters to Magistrate Judge Curtis Ivy, Jr.,
including the Motion to Dismiss. ECF No. 44. Magistrate Judge Ivy issued a Report
and Recommendation (“R&R”) suggesting that the Court grant the City of Warren
Defendants’ motion and dismiss Plaintiffs’ Second Amended Complaint as to all

City of Warren Defendants.' ECF No. 46.

' After issuance of the R&R, Plaintiffs filed a Third Amended Complaint without leave of the
Court. See ECF No. 55. The filing of this amended complaint was premature because the Court

2

V1

Case 2:23-cv-11597-BRM-Cl ECF No. 78, PagelD.867 Filed 08/22/24 Page 3 of 5

As provided for in Federal Rule of Civil Procedure 72(b)(2) and Local Rule
72.1(d), objections to the R&R were due within fourteen (14) days of service, or by
April 23, 2024. See FED. R. Civ. P. 72(b)(2); E.D. Mich. L.R. 72.1(d)(2)-(3). The
failure to timely object to an R&R releases the Court from its duty to independently
review the matter. See Thomas v. Arn, 474 U.S. 140, 149 (1985); see also Ivey v.
Wilson, 832 F.2d 950, 957-58 (6th Cir. 1987) (explaining that a party’s failure to
timely object to a report and recommendation allows a court to accept the
recommendation “without expressing any views on the merits of the magistrate’s
conclusions”). Similarly, failure to object to an R&R forfeits any further right to
appeal. See Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019) (recognizing that a
party forfeits their right to appeal by failing to timely file objections to an R&R).

Here, Plaintiffs filed their Objections to the R&R on April 29, 2024 — 6 days
after the deadline. See ECF No. 50. Thus, Plaintiffs’ objections are untimely.
Consequently, they have waived their rights to contest the R&R and forfeited their
right to appeal the decision to dismiss the Second Amended Complaint as to the City

of Warren Defendants.

had not yet ruled on the Magistrate Judge’s R&R suggesting dismissal of the Second Amended
Complaint. The Court will dismiss the Third Amended Complaint as to the City of Warren
Defendants. The Court will allow the Third Amended Complaint to stand as to the Service
Towing Defendants because they have already filed a Motion to Dismiss the Third Amended
Complaint (ECF No. 57) and did not file a responsive pleading to the Second Amended

Complaint.
3 oS | 4

Case 2:23-cv-11597-BRM-Cl ECF No. 78, PagelD.868 Filed 08/22/24 Page 4 of5

Accordingly, the Court ACCEPTS AND ADOPTS the recommended
disposition of Magistrate Judge Ivy’s Report and Recommendation (ECF No. 46).
The City of Warren Defendants’ Motion to Dismiss (ECF No. 35) is GRANTED.
Plaintiff’s Objections (ECF No. 50) are OVERRULED.

IT IS HEREBY ORDERED that all Federal Claims as to the City of Warren
Defendants are DISMISSED WITH PREJUDICE, with the exception that the
claims regarding the unlawful seizure of the two vehicles identified in the R&R are
DISMISSED WITHOUT PREJUDICE. Plaintiffs’ State Law Claims are
DISMISSED WITHOUT PREJUDICE to be refiled in state court if the Plaintiffs
so desire.

IT IS FURTHER ORDERED that Plaintiffs’ Third Amended Complaint
(ECF No. 55) is DISMISSED as to the City of Warren Defendants. The Motion to
Dismiss the Third Amended Complaint filed by the City of Warren Defendants (ECF
No. 60) is DENIED AS MOOT. The City of Warren Defendants are hereby
DISMISSED from this case.

IT IS FURTHER ORDERED that Plaintiffs’ Motion for Substitution of
Parties per Death of Robert Scott (ECF No. 62) and Amended Motion for
Substitution of Parties per Death of Robert Scott (ECF No. 68) are both DENIED

AS MOOT.

7———~ -€ ase 2:23-cv-11597-BRM-Cl ECFNo-88;PagelB-963 -Filed 12/18/24 Page-7 of 18»

Case 2:23-cv-11597-BRM-C! ECF No. 80, PagelD.878 Filed 09/06/24 Page 7 of 7
Case 2:23-cv-11597-BRM-Cl ECF No. 78, PagelD.869 Filed 08/22/24 Page 5 of 5

IT IS SO ORDERED.

Dated: August 22, 2024 s/Brandy R. McMillion
Brandy R. McMillion
United States District Judge

Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.964 Filed 12/18/24 Page 8 of 18
Case 2:23-cv-11597-BRM-CI ECF No. 87, PagelD.956 Filed 11/20/24 Pageiof1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

ELIZABETH NELSON, and

ALBERT THROWER
Plaintiffs, Case No. 2:23-cv-11597
Hon. Brandy R. McMillion
v. Mag. Judge Curtis Ivy, Jr.

ROBERT SCOTT, ez. al.,

Defendants.

JUDGMENT

IT IS ORDERED AND ADJUDGED that pursuant to this Court’s Order
Adopting the Recommended Disposition of the Magistrate Judge’s Report and

Recommendation (ECF No. 86), entered on this date, this cause of action is

DISMISSED.
KINIKIA ESSIX
CLERK OF COURT
By:_s/L. Hosking
Deputy Clerk
Approved:

/s Brandy R. McMillion
BRANDY R. MCMILLION
United States District Judge

Dated: November 20, 2024 3
Detroit, Michigan \1

Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.965 Filed 12/18/24 Page 9 of 18
Case 2:23-cv-11597-BRM-Cl ECF No. 86, PagelD.947 Filed 11/20/24 Page 1 of 9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

ELIZABETH NELSON, and

ALBERT THROWER
Plaintiffs, Case No. 2:23-cv-11597
Hon. Brandy R. McMillion
V. Mag. Judge Curtis Ivy, Jr.

ROBERT SCOTT, ez. ai.,

Defendants.
/

ORDER ADOPTING THE RECOMMENDED DISPOSITION OF
THE MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
(ECF NO. 82), OVERRULING PLAINTIFFS’ OBJECTIONS (ECF NO. 83),
GRANTING DEFENDANTS’ MOTION TO DISMISS (ECF NO. 57), AND

DISMISSING THE THIRD AMENDED COMPLAINT (ECF NO. 55)

Plaintiffs Elizabeth Nelson and Albert Thrower (together, “Plaintiffs”) filed
this pro se civil rights action against Defendants City of Warren, James Fouts, Robert
Scott, James Cummins, Curtis Gauss, Frank Badalamente, Mary Michaels, Brian
Kijewski, Marilyn Trembath, Everett Murphy, Pete Warack, Annette Gattari-Ross,
R. Lipa, William Reichling, and William Dwyer (collectively, the “City of Warren
Defendants”) and Defendants Service Towing, Inc., Able Towing, LLC, Dennis
Hertz, Bruce Hertz, Sandra Hertz, Edward D. Hertz, and Randy Sullivan
(collectively, the “Towing Defendants”). Plaintiffs allege violations of their

constitutional rights and various statutes, under the Fourth, Fifth, and Fourteenth

ee C ye

Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.966 Filed 12/18/24 Page 10 of 18
Case 2:23-cv-11597-BRM-Cl ECF No. 86, PagelD.948 Filed 11/20/24 Page 2 of 9

Amendments. See generally ECF No. 29. Plaintiffs’ allegations concern the search
of Plaintiffs’ commercial property located in Warren, Michigan and the towing of
vehicles found on that property. /d.

On August 22, 2024, the Court issued an order dismissing the claims against
the City of Warren Defendants. ECF No. 78. Now pending before the Court is the
Towing Defendants’ Motion to Dismiss (ECF No. 57). The motion was fully briefed.
See ECF No. 67,72. On September 30, 2024, Magistrate Judge Curtis Ivy, Jr. issued
a Report and Recommendation (R&R) recommending the Towing Defendants’
Motion to Dismiss be granted. Plaintiffs objected to that recommendation and the
Towing Defendants responded to those objections. See ECF No. 82-84.

Having reviewed the objections and conducting a de novo review of the record
and briefs, the Court concludes that Plaintiffs have failed to state a claim against the
Towing Defendants. Reaching that conclusion, the Court overrules Plaintiffs’
objections and dismisses this case. Accordingly, the Court will ACCEPT AND
ADOPT the recommended disposition of the R&R (ECF No. 82), OVERRULE
Plaintiffs’ Objection (ECF No. 83); GRANT the Towing Defendants’ Motion to

Dismiss (ECF No. 57); and DISMISS WITH PREJUDICE Plaintiffs’ Third

io/t

Amended Complaint (ECF No. 55).
Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.967 Filed 12/18/24 Page 11 of 18
Case 2:23-cv-11597-BRM-CI ECF No. 86, PagelD.949 Filed 11/20/24 Page 3 of 9

I.

This case was originally filed on July 5, 2023, and the Complaint was
amended on August 18, 2023, as a matter of right. See ECF Nos. 1, 25. On August
28, 2023, the Court granted Plaintiffs leave to file a Second Amended Complaint.
See ECF No. 29. On October 23, 2023, the City of Warren Defendants moved to
dismiss the Second Amended Complaint, or in the alternative for summary
judgment. ECF No. 35. The Court granted that motion. See ECF No. 78. The City
of Warren Defendant’s Motion to Dismiss was originally considered by Magistrate
Judge Ivy and he issued a R&R to the Court recommending that the motion be
granted. See ECF No. 46. As a part of that R&R, Magistrate Judge Ivy noted that
the only claims remaining in this case were against the Towing Defendants. Jd.

After issuance of the R&R, Plaintiffs filed a Third Amended Complaint
without leave of the Court. See ECF No. 55. The Court found that the filing of the
Third Amended Complaint was premature because the Court had not yet ruled on
the Magistrate Judge’s R&R suggesting dismissal of the Second Amended
Complaint. See ECF No. 78, PageID.866-867, fnl1. However, the Court allowed the
Third Amended Complaint to stand as to the Towing Defendants because they had
filed a Motion to Dismiss the Third Amended Complaint (ECF No. 57). Therefore,

for the purpose of this Motion, the Third Amended Complaint is the operative

complaint. | / A
3
Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.968 Filed 12/18/24 Page 12 of 18
Case 2:23-cv-11597-BRM-CIl ECF No. 86, PagelD.950 Filed 11/20/24 Page 4 of 9

The Third Amended Complaint alleges that Plaintiffs’ Fourth, Fifth, and
Fourteenth Amendment rights were violated when the Towing Defendants conspired
with the City of Warrant Defendants to unlawfully tow their vehicles. ECF No. 55,
PageID.600-601. Plaintiffs assert that the Towing Defendants were acting under the
color of state law when they acted in concert with the City of Warren Defendants.’
Id. The Towing Defendants move to dismiss the complaint on the basis that they are
not state actors subject to suit under 42 U.S.C. §1983. Magistrate Judge Ivy found
that alone as a basis for dismissal. ECF No. 82, PageID.885. Magistrate Judge Ivy
also recommends, with dismissal of the federal claims, the Court decline to exercise
supplemental jurisdiction and dismiss the state law claims against the Towing
Defendants as well. Jd. at PageID.889.

Il.

Pursuant to Federal Rule of Civil Procedure 72(b), if a party objects to a
Magistrate Judge’s report and recommendation, the District Judge, in conducting a
de novo review, can “accept, reject, or modify the recommended disposition; receive
further evidence; or return the matter to the magistrate judge with instructions.” Fed.
R. Civ. P. 72(b)(3). Objections must be stated with specificity. Thomas v. Arn, 474

U.S. 140, 151 (1985) (citation omitted); Mira v. Marshall, 806 F.2d 636, 637 (6th

' Neither party has objected to the recitation of facts as found in the R&R (ECF No. 82,
PageID.881-883), so the Court will adopt those facts as the basis for its decision.

yf \\

Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.969 Filed 12/18/24 Page 13 of 18
Case 2:23-cv-11597-BRM-CI ECF No. 86, PagelD.951 Filed 11/20/24 Page 5 of 9

Cir. 1986). “A general objection to the entirety of the magistrate’s report has the
same effects as would a failure to object.” Howard v. Sec’y of Health & Hum. Servs.,
932 F.2d 505, 509 (6th Cir. 1991).

Moreover, an objection that “merely restates the arguments previously
presented does not sufficiently identify alleged errors on the part of the magistrate
judge.” See VanDiver v. Martin, 304 F.Supp.2d 934, 937 (E.D. Mich. 2004). The
Court “is not obligated to address objections made in this form because the
objections fail to identify the specific errors in the magistrate judge’s proposed
recommendations, and such objections undermine the purpose of the Federal
Magistrate’s Act, which serves to reduce duplicative work and conserve judicial
resources.” See Owens v. Comm’r of Soc. Sec., No. 1:12-CV-47, 2013 WL 1304470
at *3, 2013 U.S. Dist. LEXIS 44411 at *8 (W.D. Mich. Mar. 28, 2013) (citations
omitted).

When a party objects to portions of a Magistrate Judge’s report and
recommendation, the Court reviews those portions de novo. See Fed.R.Civ.P.
72(b)(3); Lyons v. Comm’r of Soc. Sec., 351 F.Supp.2d 659, 661 (E.D. Mich. 2004).
The Court has no duty to conduct an independent review of the portions of the R&R
to which the parties did not object. Thomas, 474 U.S. at 153. However, a de novo
review of proper objections requires at least a review of the evidence before the

Magistrate Judge; and the Court may not act solely on the basis of a Magistrate

5 13 \1
Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.970 Filed 12/18/24 Page 14 of 18

Case 2:23-cv-11597-BRM-CI ECF No. 86, PagelD.952 Filed 11/20/24 Page 6 of 9

Judge’s report and recommendation. See Hill v. Duriron Co., 656 F.2d 1208, 1215
(6th Cir. 1981).
Hf.

Plaintiffs submit nine objections to the Magistrate Judge’s R&R, however
none of the objections address the legal basis of the recommended disposition of the
Towing Defendants’ motion. See generally ECF No. 83. The Magistrate Judge
recommends dismissal of the federal claims against the Towing Defendants because,
as alleged in their motion, Plaintiffs fail to show any state action on the part of the
private towing defendants as required to successfully allege a § 1983 claim. See
ECF No. 82, PageID.884-889. This Court agrees.

To hold a private entity liable under a § 1983 claim, a plaintiff must show that
the entity’s actions are reasonably attributable to the state. This can be done through
the Public Function Doctrine, state compulsion, or a close nexus between the state
and the private entity. See Lugar v. Edmondson Oil Co., 457 U.S. 922, 937 (1982).
Because Plaintiffs do not address the Magistrate Judge’s analysis of this specifically,
the Court accepts the Magistrate Judge’s recommended disposition on this issue.
However, the Court will still address each of Plaintiffs’ objections in turn.
Objection Nos. 1, 3, 4, 6:

Plaintiffs lodge several objections that relate to the City of Warren Defendants

or other aspects of the facts alleged in this case. Each of these objections is unrelated
Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.971 Filed 12/18/24 Page 15 of 18
Case 2:23-cv-11597-BRM-CI ECF No. 86, PagelD.953 Filed 11/20/24 Page 7 of 9

to the any allegations against the Towing Defendants. Because these objections do
not address any facts or conclusions of law at issue in the Towing Defendants’
Motion to Dismiss or the Magistrate Judge’s R&R, each of these objections are
overruled.

Objection No. 2:

Plaintiffs state that Magistrate Judge Ivy erred by stating Plaintiffs did not
state a Fourth, Fifth, or Fourteenth Amendment claim. This objection merely
disagrees with the Magistrate Judge generally and does nothing to address any
specific objection to the Magistrate Judge’s analysis of state action in dismissing
Plaintiffs’ claims against the Towing Defendants. General objections to the entirety
of an R&R have the same effects as a failure to object. See Howard, 932 F.2d at
509. Consequently, this objection is overruled.

Objection No. 5:

Plaintiffs state that an appeal has been filed and as result the trial court is
divested of any further jurisdiction. This objection is also overruled. There was no
final judgment issued in this case with respect to the Towing Defendants. The Court
previously adopted the Magistrate Judge’s R&R recommending dismissal of the
Second Amended Complaint as to the City of Warren Defendants. The Towing
Defendants remained active defendants in this case, and later filed their own motion

to dismiss. The R&R currently before the Court is that recommending dismissal of

, 6 00
Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.972 Filed 12/18/24 Page 16 of 18

Case 2:23-cv-11597-BRM-CI ECF No. 86, PagelD.954 Filed 11/20/24 Page 8 of 9

all claims against the Towing Defendants; and the Court has jurisdiction to rule on
these remaining claims.
Objection Nos. 7, 8:

Plaintiffs state that the Magistrate Judge erred by not accepting the Second
Amended Complaint (ECF No. 29) as the operative complaint. As noted earlier,
Plaintiffs filed a Third Amended Complaint, in response to the Magistrate Judge’s
recommendation to dismiss the Second Amended Complaint. See supra at fn.
Therefore, the Third Amended Complaint became the operative complaint.
Accordingly, these objections are overruled.

Objection No. 9:

Objection No. 9 is merely a restatement of previous argument, previous court
filings, and other facts already considered. A rehashing of previous claims is not a
proper objection, and the Court is not require to entertain repeat argument. See
VanDiver, 304 F.Supp.2d at 937. Therefore, this objection is overruled.

IV.

The R&R also recommends that the Court decline to exercise supplemental
jurisdiction and dismiss all state law claims against the Towing Defendants. ECF
No. 82, PageID.889. With dismissal of the federal civil rights claims, the Court
agrees that it would be proper to also dismiss the state law claims against the Towing

Defendants. See Sharwell v. Selva, 4 F. App’x 226, 227 (6th Cir. 2001).

jo[ \"

Case 2:23-cv-11597-BRM-CI ECF No. 88, PagelD.973 Filed 12/18/24 Page 17 of 18
Case 2:23-cv-11597-BRM-Cl ECF No. 86, PagelD.955 Filed 11/20/24 Page 9 of 9

Vv.
Accordingly, the Court ACCEPTS AND ADOPTS the recommended
disposition of Magistrate Judge Ivy’s Report and Recommendation (ECF No. 46).

The Towing Defendants’ Motion to Dismiss (ECF No. 57) is GRANTED.

IT IS HEREBY ORDERED that all federal claims as to the Towing
Defendants are DISMISSED WITH PREJUDICE. Plaintiffs’ state law claims
against the Towing Defendants are DISMISSED WITHOUT PREJUDICE to be
refiled in state court, if the Plaintiffs so desire.

THIS IS A FINAL ORDER THAT CLOSES THE CASE.

IT IS SO ORDERED.

Dated: November 20, 2024 s/Brandy R. McMillion
Brandy R. McMillion
United States District Judge

|
|
|
|
Plaintiff’s Objections (ECF No. 83) are OVERRULED.
|
|
|
* Soe _ - 7 ‘ a - ~y

ed

PRIORITY MAIL
PRESS FIRMLY TO SEAL ' PRESS FIRMLY TO SEAL POSTAGE REQUIRED

‘

US POSTAGE AND FEES PAID
® 2024-12-13 ©& Casypost
48090 ; 5 az : el

C4784838

: Commercial ; CELE RE bel bet
. 0.5 LB ZONE 1 0901000014860

; All rights reserved.

USPS PRIORITY MAIL

ABERT THROWER/ELIZABETH NELSON 0003

’ PO BOX 1422
[cos2 : |

DATE OF DELIVERY SPECIFIED*

USPS TRACKING™ INCLUDED : WARREN MI 48090-1422

INSURANCE INCLUDED *

PICKUP AVAILABLE SHIP TO: UNITED STATES DISTRICT COURT
: OFFICE OF THE CLERK 564
*
Domestic only ae 231 W LAFAYETTE BLVD
DETROIT MI 48226-2700

A CUSTOMS DECLARATION

——stvrsuvnsn MUI

9405 5362 0807 0293 9871 88

|
oo No |

|

{

;

WHEN USED INTERNATIONALLY, USPS TRACKING# _. - |
|

|

7-BRMECt ECF NO 88, Page |D:974—Fited 42/48/24—Page-48 of 18 —~- ya
“uJeBR - 8]9A901 aseaid “9}SEM JOWNSUOS-jsOd WOJ apew s} edojaaua Si, «a 3
hea
y Mall® shipments. Misuse may be a

lolation of federal law. This packaging Is not fot resale. EP14F © U.S. Postal Service; July 2013,

v

This packaging is the property of the U.S. Postal Service® and is provided solely for use Ir. sending Priorit

POSTAL SERVICE.

MOM, usrusarusescow  peamesane

PS$00001000014 ~— op:125x95 ORDER FREE SUPPLIES ONLINE

ee

